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 1
                            UNITED STATES DISTRICT COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES
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 5
     FRANCIS SHAY, SANDRA                       No.     2:20-cv-04064
 6   SHAY, BRUCE GRANT and
 7
     MICHELLE GRANT

 8
                       Plaintiffs,
 9
              v.
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     PRINCESS CRUISE LINES LTD.,
11
                       Defendant.
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13

14                           COMPLAINT AND JURY DEMAND
15            Plaintiffs, by and through their undersigned counsel, hereby sues Defendant,
16
     PRINCESS CRUISE LINES LTD. (hereinafter, “PRINCESS”), and alleges:
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18                          THE PARTIES AND JURISDICTION
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              1.    This is an action seeking damages in excess of $1,000,000.00 (One
20
     Million Dollars) exclusive of interest, costs and attorney's fees.
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22            2.    This Court has diversity subject matter jurisdiction pursuant to 28
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     U.S.C. § 1332 as this is a civil action in which the matter in controversy exceeds
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25
     the sum or value of $75,000, exclusive of interest and costs, and is between citizens

26   of different States and/or citizens of a State and citizens or subjects of a foreign
27
     state.
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 1         3.      This Court also has Admiralty subject matter jurisdiction pursuant to
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     28 U.S.C. § 1333 as this case involves a maritime tort. The type of incident and
 3

 4   injuries suffered by Plaintiffs had the potential to impact maritime commerce as

 5   Plaintiffs are at serious risk of imminent harm as a result of being exposed to the
 6
     Coronavirus running rampant aboard the cruise ship upon which they are paying
 7

 8   passengers.
 9         4.      Plaintiff, FRANCIS SHAY is sui juris, is a resident of Kenton County,
10
     Kentucky, and was a passenger onboard the Grand Princess.
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12         5.      Plaintiff, SANDRA SHAY is sui juris, is a resident of Kenton County,
13   Kentucky, and was a passenger onboard the Grand Princess.
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           6.      Plaintiff, BRUCE GRANT is sui juris, is a resident of Northwood,
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16   Greater London, England, and was a passenger onboard the Grand Princess.
17         7.      Plaintiff, MICHELLE GRANT is sui juris, is a resident of Northwood,
18
     Greater London, England, and was a passenger onboard the Grand Princess.
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20         8.      Princess Cruise Lines LTD. is incorporated in Bermuda, with its
21
     headquarters in Santa Clarita California. The action is being filed in this Court
22
     pursuant to the terms and conditions of the Passenger Contract issued by
23

24   Defendant, Princess Cruise Lines Ltd.
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           9.      At all times hereto, PRINCESS owned and operated the cruise ship the
26
     Grand Princess.
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 1          10.   This Court has personal jurisdiction over PRINCESS as PRINCESS’
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     principle place of business is located in Los Angeles County, Los Angeles.
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 4          11.   PRINCESS conducts substantial business within the state of

 5   California, including operating cruises from ports in San Francisco, San Diego and
 6
     Los Angeles.
 7

 8          12.   PRINCESS markets cruise vacations to Californian residents and
 9   employs thousands of Californian residents to work at its California headquarters.
10
            13.   Plaintiffs   FRANCIS SHAY AND            SANDRAY SHAY, were
11

12   passengers aboard the Grand Princess which departed out of San Francisco on
13   February 21, 2020 and had been quarantined on said ship though Thursday March
14
     12, 2020, as a result of an outbreak of COVID-19.
15

16          14.   Plaintiffs, BRUCE GRANT and MICHELLE GRANT, were
17   passengers aboard the Grand Princess which departed out of San Francisco on
18
     February 21, 2020, and had been quarantined on said ship through Tuesday, March
19

20   10, 2020, as a result of an outbreak of COVID-19.
21
                                FACTUAL BACKROUND
22
            In the recent months, there has been a worldwide outbreak of a new strain of
23

24   the Corona virus, commonly known as COVID-19. The virus began in China in
25
     December 2019, and has quickly spread throughout Asia, Europe and most
26
     recently, North America. The virus causes temperature, a dry cough, and can be
27

28   fatal. There have been over One Hundred Thousand cases worldwide and over
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 1   Three Thousand deaths as result of COVID-19. Those fatalities have largely been
 2
     amongst the elderly population, and those with underlying medical complications.
 3

 4

 5         COVID-19 really gained the attention of the public when the Diamond
 6
     Princess cruise ship, also owned and operated by Defendant, suffered an outbreak
 7

 8   of the disease at the beginning of February 2020 in Yokohama, Japan.           The
 9   outbreak began with ten cases, and rapidly multiplied to seven hundred cases, as a
10
     result of the flawed two week quarantine on the ship. The Center for Disease
11

12   Control, (CDC) issued a statement on February 18, 2020, that “the rate of new
13   reports of positives new on board, (Diamond Princess), especially among those
14
     without symptoms, highlights the high burden of infection on the ship and potential
15

16   for ongoing risk.” Seven of Defendant’s passengers died as a result of COVID-19.
17

18
           It would only stand to reason, that having experienced such a traumatic
19

20   outbreak on board one of its vessels less than a month prior to the current voyage
21
     on board the Grand Princess, that the Defendant would have learned to take all
22
     necessary precautions to keep its passengers, crew and the general public safe.
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24   Unfortunately, the Defendant PRINCESS did no such thing, which is why Plaintiffs
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     were at actual risk of immediate physical injury proximately caused by the
26
     Defendant’s negligence.
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 1                                   COUNT I
 2                           (NEGLIGENCE AGAINST PRINCESS)

 3      Plaintiffs re-allege all allegations in paragraphs 1 through 14 above as if alleged
 4
        fully herein.
 5

 6         15.    PRINCESS owed Plaintiffs, who are paying passengers who boarded
 7
     the Grand Princess on February 21, 2020, the duty to ensure that they would not be
 8

 9   exposed to unreasonable risk of harm that defendant knew or should have known
10
     about while sailing on its vessel.
11
           16.    Defendant breached its duty in that it had knowledge that at least one
12

13   of its passengers from the prior voyage who disembarked Feb 21, 2020 had
14
     symptoms of coronavirus, and yet it made the conscious decision to continue
15
     sailing the voyage that began on February 21, 2020 with another three thousand
16

17   passengers on an infected ship.
18
           17.    Specifically, Defendant’s corporate office was aware of at least two
19
     passengers who disembarked its ship on February 21, 2020 in San Francisco, had
20

21   symptoms of the coronavirus. It went as far as to send emails on Wednesday
22
     February 25, to passengers who disembarked the Grand Princess on February 21,
23
     notifying them of the potential of exposure to the coronavirus while onboard their
24

25   cruise.
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 1         18.    To make matters even worse, there are sixty two passengers on board
 2
     the Plaintiffs’ cruise, who were also on the prior voyage, who were exposed to the
 3

 4   passengers that were confirmed to be infected, and later died.

 5         19.    In continuing to sail with another three thousand passengers including
 6
     Plaintiffs on February 21, 2020, knowing that some of those passengers and crew
 7

 8   had already been exposed to COVID-19, the Defendant PRINCESS has exposed
 9   Plaintiffs to actual risk of immediate physical injury.
10
           20.    Defendant is further negligent in failing to have proper screening
11

12   protocols for COVID-19 prior to boarding the passengers on Plaintiffs’ voyage.
13   Despite the knowledge and experience Defendant’s corporate office had with the
14
     outbreak of the disease on the Diamond Princess just a mere three weeks prior to
15

16   the instant case, Defendant did not have proper screening protocol in place to
17   minimize the risk of exposure of the disease to its passengers and crew.
18
           21.    Prior to boarding the February 21, 2020 sailing on the Grand Princess,
19

20   passengers were simply asked to fill out a piece of paper confirming they were not
21
     sick. Not one passenger was questioned, let alone examined in any capacity.
22
     Incredibly, not one of those sixty two passengers or crew members who were
23

24   mixing and mingling with the infected prior passengers were ever examined during
25
     the instant voyage until being tested for the virus on Thursday March 5, 2020, two
26
     weeks after the ship sailed.
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 1         22.    As a result of the Defendant’s lackadaisical approach to the safety of
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     Plaintiffs, its passengers and crew aboard the Grand Princess, Plaintiffs were at
 3

 4   actual risk of immediate physical injury.

 5         23.    Finally, Defendant PRINCESS’ corporate office is negligent in failing
 6
     to adequately warn Plaintiffs about the potential exposure to COVID-19 prior to
 7

 8   boarding the ship on February 21, 2020, and again during the sailing of said cruise.
 9   Defendant had actual knowledge of at least two passengers who sailed on its ship
10
     the week prior, disembarked with symptoms of coronavirus, and one confirmed
11

12   death as a result. Defendant also knew that there were sixty two passengers and
13   crew who were onboard that same sailing, who now are on board with Plaintiffs,
14
     and failed to inform Plaintiffs at any time prior to boarding or while they were
15

16   already onboard, that there is an actual risk of exposure to COVID-19.           In
17   addition, PRINCESS failed to inform Plaintiffs that a crew member aboard their
18
     cruise actually disembarked in Hawaii as a result of coronavirus.
19

20         24.    If Plaintiffs had knowledge of this actual risk of exposure prior to
21
     boarding, they would have never boarded the ship. If they were informed of the
22
     risk on February 25, 2020, when the former passengers were notified by email,
23

24   Plaintiffs would have disembarked at the first port of call in Honolulu on Feb 26,
25
     2020. Due to Defendant’s outright negligence in failing to warn Plaintiffs of the
26
     actual risk of exposure to COVID-19 aboard its infected ship, Plaintiffs, FRANCIS
27

28   and SANDRA SHAY, were quarantined in their cabin along with the rest of the
                                                 7
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 1   passengers and crew, off the coast of San Francisco, anxiously awaiting their fate,
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     until they were transferred to an air force base across the country where they
 3

 4   remained quarantined until they returned home.       Due to Defendant’s outright

 5   negligence in failing to warn Plaintiffs of the actual risk of exposure to COVID-19
 6
     aboard its infected ship, Plaintiffs, BRUCE and MICHELLE GRANT, were
 7

 8   quarantined in their cabin along with the rest of the passengers and crew, off the
 9   coast of San Francisco, anxiously awaiting their fate, until they remained
10
     quarantined until they returned home.
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24         25.   As a direct and proximate result of the aforementioned negligence of
25   the Defendant PRINCESS, in exposing them to actual risk of immediate physical
26
     injury, Plaintiffs are suffering from emotional distress as a result of being
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28   quarantined for several weeks, while they anxiously awaited to see if they would
                                             8
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 1   come down with COVID-19. Plaintiffs, BRUCE and MICHELLE GRANT have
 2
     been confirmed to have contracted COVID-19 and suffer from physical and
 3

 4   emotional harm from the disease.

 5

 6
                WHEREFORE, Plaintiffs demand judgment against Defendant PRINCESS
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 8   for damages suffered as result of their negligence and a trial by jury on all issues
 9   triable.
10

11                                 COUNT II
                (GROSS NEGLIGENCE AGAINST DEFENDANT PRINCESS)
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13      Plaintiff re-alleges all allegations set out in paragraphs 1 through 25 above as if
14
     alleged fully herein.
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16          26.     Defendant Princess’ corporate office’s conduct in deciding to continue
17
     to sail the Grand Princess with Plaintiffs, knowing that the ship was infected from
18

19
     two previous passengers who came down with symptoms of COVID-19, and had

20   sixty two passengers on board with plaintiffs who were previously exposed to those
21
     two infected individuals, along with the prior crew, shows a lack of any care on the
22

23   part of Defendant, amounting to gross negligence. Defendant knew how dangerous

24   it was to expose Plaintiffs and the rest of its passengers to COVID-19 in light of its
25
     experience with the Diamond Princess a short three weeks prior, and yet it departed
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  1   from what a reasonably careful cruise line would do under the circumstances in
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      continuing to sail with Plaintiffs.
  3

  4          27.    Moreover, Defendant’s corporate office’s conduct in failing to warn

  5   Plaintiffs of their actual risk of harm in being exposed to COVID-19, either prior to
  6
      boarding or while they were already on board, in light of the prior passenger who
  7

  8   came down with symptoms who ended up dying, along with others who came down
  9   with symptoms from that prior voyage, and the crew member who disembarked
 10
      during this voyage from the virus, amounts to an extreme departure of a what a
 11

 12   reasonably careful cruise line would do, in light of that fact that Plaintiffs, three of
 13   which are elderly with underlying conditions.
 14

 15          28.    Defendant PRINCESS’ corporate office chose to place profits over the
 16
      safety of its passengers, crew and the general public in continuing to operate
 17
      business as usual, despite their knowledge of the actual risk of injury to Plaintiffs
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 19   three of which are elderly with underlying conditions.
 20

 21
             WHEREFORE, Plaintiffs demand judgment against PRINCESS including

 22   punitive damages suffered as a result of the alleged gross negligence on Defendant,
 23
      and a trial by jury on all issues triable.
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